     Case 1:19-cr-00131-PAE Document 529 Filed 10/15/20 Page 1 of 3



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                                     October 15, 2020

BY ECF
The Honorable Paul A. Engelmayer
United States District Court Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

                 Re: United States v. Justin Rivera; 19 Cr. 131 (PAE)

Dear Judge Engelmayer:

       As the Court is aware, we represent Justin Rivera in the above matter. We write in
advance of tomorrow’s conference to further discuss our access to Mr. Rivera and Mr.
Rivera’s access to discovery at the Metropolitan Correctional Center (“MCC”).

       1. Counsel’s Access to Mr. Rivera

       Since our last conference, we spoke with the Federal Defenders, who oversee
scheduling phone and video calls with incarcerated individuals and their attorneys and
defense teams, about having recurring communications with Mr. Rivera. Federal
Defenders was able to set up a recurring schedule, whereby we can have a weekly one-
hour phone call and a weekly one-hour video call. Such calls have occurred this week and
will continue on a weekly basis.

         With the Government’s assistance, we were also able to meet Mr. Rivera for the
first time on Wednesday, October 14, 2020 in the USMS cellblocks on the 4th floor of the
courthouse. Our meeting lasted over 4 hours. While we were appreciative of the
opportunity to meet with Mr. Rivera, there were significant limitations. First, Mr. Rivera
was handcuffed the entire time. Second, he was not permitted to have a pen, writing pad
or any of his legal notes or materials. Finally, we were unable to share any materials with
him or meaningfully review any discovery.

       We submitted a request to meet with Mr. Rivera next week and have specifically
requested that he not be handcuffed, be permitted to have a pen, writing pad and his legal
notes and materials. We were notified today, by Paul Brunhuber and Tracy Amaladas, of
USMS, that Mr. Rivera is permitted to have his legal materials and a pad. However, he is
      Case 1:19-cr-00131-PAE Document 529 Filed 10/15/20 Page 2 of 3




not permitted to have a pen in the USMS cellblock, and he must remain in restraints at all
times. While it will be helpful for Mr. Rivera to have access to some of his legal materials
during our meetings, we believe he should not be restrained, as he is alone in a secure room.
Further, he should be allowed to use a pen or other approved writing instrument so he can
take notes during our meetings.

        2. Mr. Rivera’s Access to Discovery

       Since the last conference, we have been in communication with the Government
concerning Mr. Rivera’s access to discovery. The Government agreed to produce all the
prior non-sensitive material from discovery productions on a hard drive and to produce
smaller productions on CDs and DVDs. Based on communications with the Government,
the hard drive is expected to be delivered to the MCC by October 20, 2020.

       Again, we are appreciative of the Government’s assistance. However, even with a
hard drive, CDs and DVDs, Mr. Rivera is unable to meaningfully review the discovery.
Since he and other inmates remain on “lockdown,” he only has anywhere from 1 to 4 hours
per day out of his cell. This is an insufficient amount of time for him to shower, speak with
his family and review discovery, on the single computer on his unit. Additionally, he is
unable to review all of the discovery, as some of it is marked as “sensitive.” We are in
discussions with the Government and hope that the Government will no longer mark certain
discovery productions as “sensitive” to facilitate Mr. Rivera’s discovery review. 1 For
instance, we have asked that the Government no longer mark Mr. Rivera’s cellphone from
2015 as “sensitive” so that he can review its contents outside our meetings.

        Simply put, Mr. Rivera needs greater access to his discovery. We propose three
possible solutions, in order of Mr. Rivera’s preference for each option.

        We think the best option is for Mr. Rivera to be given a laptop or a tablet that he
can use either in his cell or in an alternative area of his unit. We are aware that counsel for
Mr. Andrews and the Government have been in discussions concerning the same issue and
have stressed the need for their client to have a laptop or tablet. We agree. Without such
a device, Mr. Rivera is denied his basic and fundamental rights to review the evidence
against him and to prepare a defense.

        Requests for laptops or tablets at MCC and MDC have been approved in several
other cases. In United States v. Brandon Jones, 16 Cr. 553 (AJN) (S.D.N.Y.), Judge Nathan
ordered that a laptop, that was disabled from internet access, be provided to Mr. Jones to
use for the purposes of reviewing non-sensitive discovery materials. See Hr’g Tr., ECF
No. 24. In a previous case we were appointed to, U.S. v. Shulaya, 17 Cr. 350 (LAP)
(S.D.N.Y.), we requested and the MDC allowed Mr. Shulaya to have access several hours
per day to a laptop in the attorney visiting area of the MDC. The Government purchased
the laptop, loaded it with discovery and delivered it to MDC. This was done without the
need for a court order. In U.S. v. Pippins, 19 Cr. 378 (PKC), co-defendant counsel in this

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  “Sensitive” material is only viewable by Mr. Rivera in the presence of counsel. We cannot meaningfully
review such material during video calls or during our meetings in the USMS cellblocks.


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     Case 1:19-cr-00131-PAE Document 529 Filed 10/15/20 Page 3 of 3




case, Lloyd Epstein, signed a stipulation with the Government allowing the defendant to
receive discovery at MDC on a laptop or tablet. In U.S. v. Ahmed, 14 Cr. 277 (DLI)
(E.D.N.Y.), the “Government provided a laptop with discovery to MDC for defendant’s
review” and the defendant was “given regular access to it.” See Minute Entry on October
24, 2014. In U.S. v. Budovsky, 13 Cr. 368 (DLC) (S.D.N.Y.), after consulting with the
government and defense counsel, the MCC “put a plan in place to enable the defendant to
have access to a computer and accompanying media between 8 am and 8 pm on the
weekdays and between 8 am and 3 pm on the weekends and holidays.” ECF No. 229, filed
1/4/16.

        In some cases, a court order has been required for the Bureau of Prisons to comply
with orders regarding laptops. In U.S. v. Posobilov, 12 Cr. 626 (SJ), Judge Johnson issued
an order directing the BOP to allow defendants’ access to a laptop with hard drive and
“unfettered access” to their laptops for review of unclassified materials. See Minute Entry
on 1/16/15. In U.S. v. Herron, 10 Cr.615 (NGG) (E.D.N.Y.), the Government agreed to
provide discovery on a laptop to a defendant at MDC. The MDC would not comply
without court order, which Judge Garaufis issued. In U.S. v. Roland, 12 Cr. 298 (ES)
(D.NJ), the Government agreed to provide discovery on laptop to a defendant at MDC. A
Court order was required for the MDC to comply.

        Our request to have a laptop or tablet made available to Mr. Rivera in his cell or on
his unit also takes into account MCC staffing issues and COVID-related policies regarding
inmate movement. If Mr. Rivera has access to a laptop or tablet on his unit, he can review
his discovery daily without the need for additional staff supervision or movement.

        In the alternative, we propose that Mr. Rivera be allowed to view his discovery hard
drive and discs on the computers in the attorney visiting area at MCC for a certain number
of hours each day or week. If neither the laptop/tablet nor attorney visiting area options
are viable, we ask that Mr. Rivera be allowed daily access to the law library area of MCC,
which is currently closed to the general population.

      Thank you again and in advance for your assistance in resolving these issues and
concerns.


                                              Respectfully submitted,


                                                      /s/

                                              Anthony Cecutti
                                              Jennifer Louis-Jeune




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